Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 1 of 19 PageID #: 1
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 2 of 19 PageID #: 2
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 3 of 19 PageID #: 3
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 4 of 19 PageID #: 4
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 5 of 19 PageID #: 5
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 6 of 19 PageID #: 6
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 7 of 19 PageID #: 7
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 8 of 19 PageID #: 8
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 9 of 19 PageID #: 9
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 10 of 19 PageID #:
                                     10
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 11 of 19 PageID #:
                                     11
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 12 of 19 PageID #:
                                     12
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 13 of 19 PageID #:
                                     13
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 14 of 19 PageID #:
                                     14
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 15 of 19 PageID #:
                                     15
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 16 of 19 PageID #:
                                     16
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 17 of 19 PageID #:
                                     17
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 18 of 19 PageID #:
                                     18
Case 1:18-cr-00393-RER-RML   Document 1   Filed 12/09/16   Page 19 of 19 PageID #:
                                     19
